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                              Tuesday, 29 December, 2020 11:13:24 AM
                                          Clerk, U.S. District Court, ILCD
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